      Case 1:17-cv-11008-MLW Document 381 Filed 06/28/18 Page 1 of 2




                                 UNITED STATES      DISTRICT COURT


                                  DISTRICT    OF MASSACHUSETTS


 JANSSEN BIOTECH,               INC.,
         Plaintiff,


                   V .

                                                                 C.A.   No.   17-11008-MLW

 CELLTRION HEALTHCARE CO.,
 LTD., ET AL.,
         Defendants.




                                                   ORDER



 WOLF,      D.J.                                                                 June 28,       2018

       The court has              received the parties'            June 22,      2018 and June

28, 2018 letters seeking guidance regarding scheduling and related

issues.       See        Docket    Nos.     375,    380.     In    response,     it     is    hereby

ORDERED t h a t :


       1.      If         the     pending     motion        for     summary          judgment       on

ensnarement          is    denied,      a   telephone      conference         will    be     held   to

discuss plaintiff's intention to seek leave to amend its damages

claims and scheduling issues.

       2.      Unless           otherwise    ordered,       if    the   motion       for     summary

judgment on ensnarement is denied,                         hearings on pretrial motions

will begin on August 6,                   2018,    and trial will commence on August

27,   2018.
    Case 1:17-cv-11008-MLW Document 381 Filed 06/28/18 Page 2 of 2




     3.      The parties shall continue to confer and, by 12:00 noon

on July 6,    2018,   report whether they have agreed to a resolution

of this   case.




                                  Ol
                                  UNITED   ^ATES DISTRICT JUDGE
